          Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 1 of 77




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                            §
                                                   §
 FREE SPEECH SYSTEMS, LLC,                         §          Case No. 22-60043
                                                   §
                                DEBTOR.            §          Chapter 11 (Subchapter V)
                                                   §


          GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
                    AND DISCLAIMER REGARDING DEBTOR’S
                    AMENDED SCHEDULES AND STATEMENTS

        The Amended Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Schedules and Statements”) filed by Free Speech Systems, LLC, the debtor and debtor in
possession in the above-captioned chapter 11 case (the “Debtor”) are unaudited and were prepared
pursuant to section 521 of Title 11 of the United States Code and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”) by the Debtor’s chief restructuring officer (the
“CRO”). While the CRO has made reasonable efforts to file complete and accurate Schedules and
Statements based upon information available at the time of preparation, the Schedules and
Statements remain subject to further review and verification by the Debtor. Subsequent
information may result in material changes in financial and other data contained in the Schedules
and Statements. The Debtor reserves the right to further amend its Schedules and Statements from
time to time as may be necessary or appropriate. The Global Notes and Statement of Limitations,
Methodology, and Disclaimer Regarding Debtor’s Schedules and Statements (the “Global Notes”)
is incorporated by reference in, and comprises an integral part of, the Schedules and Statements
and should be referred to and reviewed in connection with any review of the Schedules and
Statements.

        1.     Description of the Cases and “As Of” Information Date. On July 29, 2022 (the
“Petition Date”), the Debtor filed a voluntary petition for relief under Chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”). The Debtor currently operates its business and
possess its property as a debtor-in-possession under section 1184 of the Bankruptcy Code. Unless
otherwise noted, all asset and liability information is as of the Petition Date.

        2.      Basis of Presentation. These Schedules and Statements do not purport to represent
financial statements prepared in accordance with Generally Accepted Accounting Principles
("GAAP"), nor are they intended to fully reconcile to any financial statements otherwise prepared
and/or distributed by the Debtor.

       3.      Causes of Action. Despite its reasonable efforts, as described above, the Debtor
may not have set forth all of its claims, causes of actions and potential recoveries in its Schedules
and Statements. The Debtor reserves all rights with respect to any causes of action it may possess,
and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any
such causes of action.
       Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 2 of 77




       4.      Insiders. The listing or failure to list a person or other entity as an “insider” in the
Schedules and Statements is not intended to be nor should it be construed as a binding admission
that such person or entity is or is not an insider. The Debtor reserves the right to dispute or
challenge the designation of any individual or entity in connection with any other matter arising in
the Debtor’s chapter 11 case.

         5.     Intellectual Property Rights. Any omission of intellectual property from the
Schedules and Statements shall not be an admission that such intellectual property rights have been
abandoned, have been terminated or otherwise expired by their terms or have been assigned or
otherwise transferred pursuant to a sale, acquisition or other transaction. In accordance with the
foregoing, the Debtor reserves all of its rights with respect to the legal status of any and all
intellectual property rights, regardless of whether such intellectual property rights are or are not
listed in the Schedules and Statements.

       6.      Summary of Significant Reporting Policies. The Schedules and Statements have
been signed by Patrick Magill, the CRO to the Debtor. In reviewing and signing the Schedules and
Statements, Mr. Magill has necessarily relied upon the efforts, statements, and representations of
the Debtor’s business records and personnel. Mr. Magill has not personally verified the accuracy
of each such statement and representation, including, but not limited to, statements and
representations concerning amounts owed to creditors. The Debtor made reasonable efforts to
accurately report asset, liability, disbursement and other information on its Statements and
Schedules, and the Debtor adopted the following conventions in the preparation of the Schedules
and Statements.

       a.      Fair Market Value; Book Value. Unless otherwise noted, the value of each asset
               and liability of the Debtor is shown on the basis of the book value of such asset or
               liability in the Debtor’s accounting books and records. As applicable, assets that
               have been fully depreciated or were expensed for accounting purposes have no net
               book value. As a result, the value of the Debtor’s assets and liabilities set forth on
               the Schedules and Statements may not always reflect the current market values of
               such property and/or liabilities. The “Current value of debtors interest” identified in
               Part 5 through Part 11 of the Schedules reflects the cost of the personal and intangible
               property disclosed therein and is not intended and does not reflect the market value of
               those assets. The Debtor has not sought or obtained an appraisal of those assets and the
               realizable market value is likely considerably less that the “Current value” and in many
               instances may be negligible. The Debtor reserves its right to amend or adjust the
               value of each asset or liability set forth herein.

       b.      Liabilities. The Debtor reserves the right to dispute any liability indicated in its
               Schedules notwithstanding the designation in the Schedules and Statements.

       c.      Claims. The Debtor’s Schedules and Statements list creditors and set forth the
               Debtor’s estimate of the claims of creditors as of the Petition Date. The Bankruptcy
               Court has authorized the Debtor to, among other things, make payments to certain
               critical vendors and utility providers. As a result, the actual unpaid claims of
               creditors that ultimately may be allowed in this case may differ from the amounts
               set forth in the Schedules and Statements. The inclusion of any such amounts in the
               Schedules and Statements shall not be deemed to obligate the Debtor to pay such
                                                 2
       Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 3 of 77



              amounts in and of themselves.
       d.     Disputed, Contingent and/or Unliquidated Claims. Schedules D and E/F permit the
              Debtor to designate a claim as disputed, contingent and/or unliquidated. A failure
              to designate a claim on any of these Schedules as disputed, contingent and/or
              unliquidated does not constitute an admission that such claim is not subject to objection.
              The Debtor reserves the right to dispute, or assert offsets or defenses to, any claim
              reflected on these Schedules as to amount, liability, or status. Moreover, the Debtor
              reserves the right to amend its Schedules and Statements as necessary and appropriate.

       7.     General Conventions Relating to the Schedules of Assets and Liabilities. The

Debtor adopted the following conventions in connection with the preparation of the Schedules:

              a.      Schedule D. Except as otherwise agreed pursuant to a stipulation or agreed
                      order entered by the Bankruptcy Court, the Debtor reserves the right to
                      dispute or challenge the validity, perfection, or immunity from avoidance
                      of any lien purported to be granted or perfected in any specific asset to a
                      secured creditor listed on Schedule D of the Debtor. Moreover, although the
                      Debtor may have scheduled claims of various creditors as secured claims,
                      the Debtor reserve all rights to dispute or challenge the secured nature of
                      any such creditor’s claim or the characterization of the structure of any such
                      transaction or any document or instrument related to such creditor's claim.
                      The descriptions provided on Schedule D are intended only to be a
                      summary. Reference to the applicable loan agreements and related
                      documents is necessary for a complete description of the collateral and the
                      nature, extent, and priority of any liens. Nothing in the Global Notes or the
                      Schedules and Statements shall be deemed a modification or interpretation
                      of the terms of such agreements.
              b.      Schedule G. While reasonable efforts have been made to ensure the
                      accuracy of the Schedule of Executory Contracts, inadvertent errors or
                      omissions may have occurred. The Debtor hereby reserves all rights to
                      dispute the validity, status or enforceability of any contract, agreement or
                      lease set forth on Schedule G and to amend or supplement such Schedule as
                      necessary. The contracts, agreements and leases listed on Schedule G may
                      have expired or may have been modified, amended or supplemented from
                      time to time by various amendments, restatements, waivers, estoppel
                      certificates, letter and other documents, instruments and agreements which
                      may not be listed therein. Certain of the real property leases listed on
                      Schedule G may contain renewal options, guarantees of payments, options
                      to purchase, rights of first refusal, rights to lease additional space and other
                      miscellaneous rights. Such rights, powers, duties and obligations are not set
                      forth on Schedule G. Certain of the executory agreements may not have
                      been memorialized and could be subject to dispute. Additionally, the Debtor
                      may be parties to various other agreements concerning real property, such
                      as easements, rights of way, subordination, non-disturbance, supplemental
                      agreements, amendments/letter agreements, title documents, consents, site
                      plans, maps and other miscellaneous agreements. Such agreements, if any,

                                                  3
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 4 of 77



           are not set forth on Schedule G. Certain of the agreements listed on
           Schedule G may be in the nature of conditional sales agreements or secured
           financings. The presence of a contract or agreement on Schedule G does not
           constitute an admission that such contract or agreement is an executory contract
           or unexpired lease. The Debtor reserves all rights, claims and causes of action
           with respect to the contracts and agreements listed on these Schedules and
           Statements, including the right to dispute or challenge the characterization or the
           structure of any transaction, document or instrument.

      c.   Schedule H. Codefendants in litigation matters involving the Debtor are not
           listed in Schedule H unless the trial court has made a ruling that results in
           an identity of interest between the Debtor and such co-defendant.


               [Remainder of Page Intentionally Left Blank]




                                       4
                      Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 5 of 77




Fill in this information to identify the case:

Debtor name         Free Speech Systems, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)    22-60043
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individuals position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: AssetsReal and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on                                       X
                                                             Signature of individual signing on behalf of debtor


                                                             Printed name


                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                            Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 6 of 77

 Fill in this information to identify the case:

 Debtor name            Free Speech Systems, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               22-60043
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                        0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           ,2       ,     .

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           ,2    ,       .


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       53,726,848.88


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                        0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           973,994.88


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         54,700,843.76




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 7 of 77

Fill in this information to identify the case:

Debtor name       Free Speech Systems, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)     22-60043
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtors name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtors interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                               $1,288,378.90



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   Security Bank of Crawford - depository         Checking                         8563                                  $118,999.04




          3.2.   Security Bank of Crawford - Operating          Checking                         8514                                $1,168,379.86



                 Security Bank of Crawford - Payroll
          3.3.   Account                                        Checking                         8522                                     $1,000.00




          3.4.   Security Bank of Crawford - InfoWars           Checking                         8621                                             $0.00




          3.5.   Bank                                           Checking                         5675                                             $0.00




          3.6.   Security Bank of Crawford - Donations          Checking                         8746                                             $0.00


Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                                 page 1
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 8 of 77

Debtor           Free Speech Systems, LLC                                                 Case number (If known) 22-60043
                 Name


                   Credit Card Merchant Reserves
          3.7.     Account                                           Checking                                                 $1,118,451.80



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                  $3,695,209.60
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No. Go to Part 3.
     Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Credit card processing                                                                                       $500,000.00




          7.2.     UT Industrial (Security Deposit)                                                                              $33,360.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     The Travelers Companies (Prepaid Insurance)                                                                    $1,224.50




          8.2.     The Hartford (Prepaid Insurance)                                                                               $1,444.31




          8.3.     Inventory deposit for merchandise order but not received.                                                    $118,336.62




          8.4.     Professional Retainers                                                                                       $202,235.00




          8.5.     Frost Insurance Agency                                                                                         $4,899.14




          8.6.     Stratus                                                                                                        $2,124.27




          8.7.     Shannon & Lee LLP                                                                                            $100,000.00



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                   page 2
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 9 of 77

Debtor           Free Speech Systems, LLC                                                   Case number (If known) 22-60043
                 Name




          8.8.     ATXHD, Inc.                                                                                                             $41,342.00




          8.9.     Protection 1 Alarm                                                                                                          $2,559.73



          8.10
          .    CubeSmart                                                                                                                       $1,016.00



          8.11
          .    Retainer of The Law Offices of Ray Battaglia, PLLC                                                                      $            .00




9.        Total of Part 2.                                                                                                       $1,       ,      .57
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11 . 0 days old          :                           -                                          0.00 =....                   $
                                       face amount                            doubtful or uncollectible accounts



          11b. Over 90 days old:                                   .      -                               0.00 =....                   $
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                         $
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:    Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last           Net book value of            Valuation method used    Current value of
                                             physical inventory         debtor's interest            for current value        debtor's interest
                                                                        (Where available)

19.       Raw materials

20.       Work in progress
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                             page 3
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 10 of 77

Debtor       Free Speech Systems, LLC                                                       Case number (If known) 22-60043
             Name



21.       Finished goods, including goods held for resale
          Merchandise / Inventory            07/29/2022                                   $0.00     Net Book Value                   $1,627,107.43



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                       $1,627,107.43
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                89,882.37 Valuation method        Net Book Value Current Value                        89,882.37

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Rugs, Chairs, Lamps and other Office
          Furniture. Net book value based upon records
          reflecting the cost of the items. This amount
          is not the market value.                                                 $47,539.41       Net Book Value                            $0.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computer Equipment and Software. Net book
          value based upon records reflecting the cost
          of the items. This amount is not the market
          value.                                                                   $44,180.49       Net Book Value                     $403,800.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 4
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 11 of 77

Debtor       Free Speech Systems, LLC                                                  Case number (If known) 22-60043
             Name

          42.1.    Artwork.

                                                                                   $73.00      Net Book Value                           $73.00




43.       Total of Part 7.                                                                                                       $403,873.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used     Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2021 Winnebago Adventurer Model 35 F
                   (VIN: 1F66F5DN1LOA03038)                                          $0.00     Net Book Value                     $120,000.00


          47.2.    2015 Ford F-450 Model F45 (VIN:
                   1FDUF4HT0FEC06013)                                        $148,890.74       Net Book Value                     $189,153.00


          47.3.    2006 Acura MX                                                     $0.00     Net Book Value                      $10,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Production and Other Equipment. Net book
          value based upon records reflecting the cost
          of the items. This amount is not the market
          value.                                                               $40,262.53      Net Book Value                     $969,019.00




51.       Total of Part 8.                                                                                                  $1,288,172.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 5
                     Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 12 of 77

Debtor        Free Speech Systems, LLC                                                    Case number (If known) 22-60043
              Name

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Warehouse
                    Improvement (3019
                    Alvin Devane Blvd.
                    Austin, TX 78741).
                    Net book value based
                    upon records
                    reflecting the cost of
                    the items. This
                    amount is not the            Leasehold
                    market value.                Improvement                  $1,335,971.23           Net Book Value                              $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           See attached Exhibit "Sch. A/B-60".                                     Unknown                                                Unknown



61.        Internet domain names and websites


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 6
                     Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 13 of 77

Debtor        Free Speech Systems, LLC                                                     Case number (If known) 22-60043
              Name


           Domain Names, Websites and Website
           Developments. See attached Exhibit "Sch.
           A/B-61".                                                                $2,520.81       Net Book Value                     $150,000.00




62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                       $15
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 7
                   Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 14 of 77

Debtor      Free Speech Systems, LLC                                                Case number (If known) 22-60043
            Name


         Gym equipment, coffee pots, televisions, Leasehold
         improvements. Net book value based upon records
         reflecting the cost of the items. This amount is not the
         market value.                                                                                                 $180,690.00




78.      Total of Part 11.                                                                                            $180,690.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                          page 8
 SerialNumber         Wordmark               Image          Status              GoodsAndServicesTruncated                    Basis    RegistrationDate RegistrationNumber
86108873      INFOWARS                Image for 86108873   Live    IC 038: Broadcasting of radio, internet radio, and on-lin1a       2014-07-01        4559649
86402016      SURVIVAL SHIELD         Image for 86402016   Live    IC 005: Dietary and nutritional supplements.             1a       2015-05-05        4731418
86402809      SURVIVAL SHIELD X-2     Image for 86402809   Live    IC 005: Dietary and nutritional supplements.             1a       2015-05-05        4731453
86402827      INFOWARS LIFE           Image for 86402827   Live    IC 005: Dietary and nutritional supplements.             1a       2015-05-05        4731454
87277011      THE ALEX JONES SHOW     Image for 87277011   Live    IC 038: Broadcasting of radio and internet radio progra 1a        2017-08-15        5264758
87938971      BODEASE                 Image for 87938971   Live    IC 005: Dietary and nutritional supplements.             1a       2019-01-08        5648683
87939303      ALPHA POWER             Image for 87939303   Live    IC 005: Dietary and nutritional supplements.             1a       2019-01-08        5648709
87938998      IMMUNE WALL             Image for 87938998   Live    IC 005: Dietary and nutritional supplements.             1a       2019-08-13        5831234
87939004      POLLEN BLOCK            Image for 87939004   Live    IC 005: Dietary and nutritional supplements.             1a       2019-05-28        5765997
87939327      DNA FORCE               Image for 87939327   Live    IC 005: Dietary and nutritional supplements.             1a       2019-07-30        5817387
87938980      ICUREN                  Image for 87938980   Live    IC 005: Dietary and nutritional supplements.             1a       2019-01-08        5648685
87938950      THE REAL RED PILL       Image for 87938950   Live    IC 005: Dietary and nutritional supplements.             1a       2019-07-23        5810446
87938991      FLORALIFE               Image for 87938991   Live    IC 005: Dietary and nutritional supplements.             1a       2019-01-08        5648686
87943348      HONOR ROLL              Image for 87943348   Live    IC 005: Dietary and nutritional supplements.             1a       2019-05-14        5753115
87943386      HAPPEASE                Image for 87943386   Live    IC 005: Dietary and nutritional supplements.             1a       2019-06-04        5771197
87943414      GUT FUSION              Image for 87943414   Live    IC 005: Dietary and nutritional supplements.             1a       2019-09-03        5848352
87943358      EXTENDAWISE             Image for 87943358   Live    IC 005: Dietary and nutritional supplements.             1a       2019-01-15        5654978
87943450      ULTIMATE FEMALE FORCE   Image for 87943450   Live    IC 005: Dietary and nutritional supplements.             1a       2019-09-03        5848353
                                                                                                                                                                            Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 15 of 77
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 16 of 77
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 17 of 77
         Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 18 of 77




Domain                                 Registrar Name

1776defiant.com                        Epik
2020electioncenter.com                 Epik
2plus2equals4.store                    Epik
2plus2is4.store                        Epik
5gdeath.com                            Epik
5gkills.news                           Epik
action7.news                           Epik
af4abb8de2579b191fc3f18c1bdc444c.com   Epik
alejandrojones.com                     Epik
alexjonesexposed.org                   Epik
alexjonesplan.com                      Epik
alexjonesplantosaveamerica.com         Epik
alexjoneswasright.news                 Epik
americaninvisibilityproject.com        Epik
americanmediabroadcast.com             Epik
bidenera.news                          Epik
blueskies.news                         Epik
bordercrisis.news                      Epik
cantcensortruth.com                    Epik
censored2020.com                       Epik
censored2022.com                       Epik
censoredbyjack.com                     Epik
censoredelection.com                   Epik
civilwarishere.com                     Epik
clownworld.us                          Epik
coalitiontodefendfreespeech.com        Epik
coffeeparty.tv                         Epik
cookinmemes.com                        Epik
covidland.news                         Epik
cuckdorsey.com                         Epik
davidknight.show                       Epik
defendjones.com                        Epik
defendowen.com                         Epik
deportillegalaliens.us                 Epik
derpstate.news                         Epik
docthesilence.com                      Epik
docthesilence.news                     Epik
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 19 of 77




donatetoalex.com                    Epik
drinkwithalex.com                   Epik
electionnight.news                  Epik
electiontheft.news                  Epik
electiontheft.org                   Epik
endthechinesevirus.com              Epik
essentialradios.com                 Epik
essentialresolution.com             Epik
essentialresolutionpack.com         Epik
evovod.com                          Epik
fakenewswars.us                     Epik
fightchinesevirus.com               Epik
fivegkills.com                      Epik
fivegkills.news                     Epik
forbiddeninformation.org            Epik
fortressview.com                    Epik
freealexjones.com                   Epik
freenews.news                       Epik
freespeechsystems.info              Epik
freespeechsystems.net               Epik
freespeechsystems.org               Epik
freespeechsystems.us                Epik
freeworldnews.news                  Epik
freeworldnews.video                 Epik
freezedriedessentials.com           Epik
freezedriedpreparedness.com         Epik
fullsend.video                      Epik
fullsendcensored.com                Epik
futurenews.news                     Epik
goblinfire.com                      Epik
goblinlove.com                      Epik
goblinnest.com                      Epik
greatdebate.news                    Epik
hopkinsworld.com                    Epik
iam1776.us                          Epik
immunitywar.com                     Epik
immunitywars.com                    Epik
imnotbragging.news                  Epik
imnotbragging.show                  Epik
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 20 of 77




infoambush.com                      Epik
infoambush.net                      Epik
infocomms.org                       Epik
infocomms.social                    Epik
infodriveby.com                     Epik
infodriveby.net                     Epik
infoguerras.com                     Epik
infoliars.com                       Epik
infowars.cards                      Epik
infowars.mx                         Epik
infowars2022.com                    Epik
infowarsart.io                      Epik
infowarsawards.com                  Epik
infowarsdata.com                    Epik
infowarsdomains.com                 Epik
infowarsmeds.com                    Epik
infowarspets.com                    Epik
infowarsplan.com                    Epik
infowarsplantosaveamerica.com       Epik
infowarsreports.com                 Epik
infowarsstream.com                  Epik
infowarsteam.com                    Epik
infowarstees.com                    Epik
joeroganexposed.com                 Epik
jonescrowder.com                    Epik
july5th.us                          Epik
july5thmovement.com                 Epik
lastjones.com                       Epik
libertycdn.com                      Epik
libertyornothing.com                Epik
martiallaw911.info                  Epik
martiallaw911.name                  Epik
maskskill.com                       Epik
masksoffusa.com                     Epik
medicalsharia.com                   Epik
memebrew.com                        Epik
memekitchin.com                     Epik
myprivacyshop.com                   GoDaddy
newsguardexposed.com                Epik
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 21 of 77




newsguardtruth.com                  Epik
newsguardwatch.news                 Epik
newsguardwatch.org                  Epik
nextearth.news                      Epik
nextjones.com                       Epik
nextnewsmedia.com                   Epik
nextterra.news                      Epik
nextyearsnews.today                 Epik
nextyearsnewstoday.com              Epik
nextyearsnewstoday.news             Epik
notbragging.show                    Epik
noticias1776.com                    Epik
nov3rd.news                         Epik
novaxnoflight.com                   Epik
obamas3rdterm.com                   Epik
onlinehealthnow.com                 Epik
operationwin2020.com                Epik
orderoffreedom.com                  Epik
ownevil.com                         Epik
pjwmerch.com                        Epik
posthuman.news                      Epik
postnewsera.com                     Epik
prisonplanet.us                     Epik
protectwithalex.com                 Epik
provemewrong.show                   Epik
rcgv.news                           Epik
readinessradios.com                 Epik
real360win.com                      Epik
real360wins.com                     Epik
rebelzencbd.com                     Epik
riotnews.news                       Epik
ronpaulcommandbase.com              Epik
ronpaulwarroom.com                  Epik
saychinesevirus.com                 Epik
skyrock.news                        Epik
slexjones.com                       Epik
starthavingkids.com                 Epik
stonepetition.com                   Epik
stopfakenewscoalition.com           Epik
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 22 of 77




theadvance.info                     Epik
theadvance.news                     Epik
theajreport.com                     Epik
theamericanjournal.news             Epik
theclown.world                      Epik
thegreatresistance.news             Epik
theinfowarchest.com                 Epik
theliberator.co                     Epik
themostbanned.com                   Epik
theobamadeception2.us               Epik
thereconreview.com                  Epik
theresistance.video                 Epik
thewarroom.show                     Epik
thisis1776.com                      Epik
totalevil.news                      Epik
true360win.com                      Epik
true360wins.com                     Epik
trumpsecrets.news                   Epik
universitywars.com                  Epik
vaxtofly.com                        Epik
wecantbreathe.news                  Epik
wejustgotraided.com                 Epik
wokeyleaks.news                     Epik
agendabasedthinking.com             GoDaddy
alexjonesdefensefund.com            GoDaddy
alexjonesfilms.com                  GoDaddy
alexjoneslegalfund.com              GoDaddy
BECOMEASUPERMALE.COM                GoDaddy
buyinfowars.com                     GoDaddy
BUYTHISFORLIFE.COM                  GoDaddy
calicaravan.com                     GoDaddy
CLARITYSHOT.COM                     GoDaddy
defendalexjones.com                 GoDaddy
emricsessentials.com                GoDaddy
FLUORIDECLEANSE.COM                 GoDaddy
FLUORIDESHIELD.COM                  GoDaddy
GETRIGHTSIDE.COM                    GoDaddy
inforwarsstoredevelopment.com       GoDaddy
infowarsarmy.com                    GoDaddy
       Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 23 of 77




infowarsdefense.com                GoDaddy
infowarsdirect.com                 GoDaddy
infowarselect.com                  GoDaddy
infowarselects.com                 GoDaddy
infowarsessentials.com             GoDaddy
INFOWARSHEALTHDOCTOR.COM           GoDaddy
INFOWARSHEALTHDR.COM               GoDaddy
INFOWARSHEALTHINSIDER.COM          GoDaddy
INFOWARSHEALTHPUNCH.COM            GoDaddy
infowarslifeselect.com             GoDaddy
infowarslifeselects.com            GoDaddy
infowarsmarketplace.com            GoDaddy
infowarsnow.com                    GoDaddy
infowarsselect.com                 GoDaddy
infowarsselects.com                GoDaddy
infowarssupersale.com              GoDaddy
infowarssupersales.com             GoDaddy
infowarsvpn.com                    GoDaddy
jonessnakeoil.com                  GoDaddy
literallyridiculous.com            GoDaddy
MADEIN1776.COM                     GoDaddy
massifnews.com                     GoDaddy
newswars.video                     GoDaddy
newswarsstore.com                  GoDaddy
newswarsvideo.com                  GoDaddy
RIGHTSIDENOW.COM                   GoDaddy
RIGHTSIDESELECT.COM                GoDaddy
RIGHTSIDESELECTS.COM               GoDaddy
sayyestojeunesse.com               GoDaddy
SECRETB12.COM                      GoDaddy
SILVERBULLETCOLLOIDALSILVER.COM    GoDaddy
solus.news                         GoDaddy
succulentdinosaur.com              GoDaddy
supersurvivalstore.com             GoDaddy
thenaturalhealthychoice.com        GoDaddy
TRYRIGHTSIDE.COM                   GoDaddy
X2NASCENTIODINE.COM                GoDaddy
1776to1984.com                     Name
1776to1984.net                     Name
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 24 of 77




1776to1984.org                      Name
1984to1776.com                      Name
1984to1776.net                      Name
1984to1776.org                      Name
911chronicles.com                   Name
911chronicles.net                   Name
911chronicles.org                   Name
alexanderemerickjones.com           Name
alexemericjones.com                 Name
alexemerickjones.com                Name
alexjones.net                       Name
alexjones.org                       Name
alexjonesbroadcasting.com           Name
alexjonesbroadcasting.net           Name
alexjonesbroadcasting.org           Name
alexjonescoffee.com                 Name
alexjonesinvestigates.com           Name
alexjonesinvestigations.com         Name
alexjonesmobile.mobi                Name
alexjonesradio.com                  Name
alexjonesradio.net                  Name
alexjonesradio.org                  Name
alexjonesshow.com                   Name
alexjonesshow.net                   Name
alexjonesshow.org                   Name
alexjoneswakeupamerica.com          Name
alexjoneswakeupamerica.net          Name
allthenews.us                       Name
americakiller.com                   Name
americasmasher.com                  Name
anonymousjones.info                 Name
anonymousjones.org                  Name
anonymousjones.us                   Name
arnoldexposed.com                   Name
arnoldexposed.net                   Name
arnoldexposed.org                   Name
arnoldtheinvader.com                Name
asiawars.com                        Name
babynimmo.com                       Name
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 25 of 77




beckdeception.com                   Name
bepaulrevere.com                    Name
biashow.com                         Name
biglieobama.com                     Name
biglieobama.net                     Name
bigliesobama.com                    Name
bigliesobama.net                    Name
blacksunshinethemovie.com           Name
broinarms.com                       Name
brotherinarmshow.com                Name
brotherinarmsshow.com               Name
brothersinarmshow.com               Name
brothersinarmsshow.com              Name
brothersinarmsshow.net              Name
championoftyranny.com               Name
charlottejones.org                  Name
charlottejones.us                   Name
cuckley.com                         Name
darkskies.us                        Name
darkskiesconspiracy.com             Name
deathoftherepublic.com              Name
deathoftherepublic.info             Name
deathoftherepublic.net              Name
deathoftherepublic.us               Name
deepblackthemovie.com               Name
deepblackthemovie.net               Name
deplorablejones.com                 Name
diabolicalnarcissism.com            Name
diabolicalnarcissist.com            Name
donaldmcronald.com                  Name
dontbegoogle.com                    Name
emporerobama.com                    Name
emporerobama.net                    Name
endgamefilm.com                     Name
endgamemovie.org                    Name
endgamethefilm.com                  Name
endgamethemovie.com                 Name
endgamethemovie.net                 Name
endgamethemovie.org                 Name
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 26 of 77




enemiesoftherepublic.com            Name
evilcities.com                      Name
evilisloose.com                     Name
falloftherepublic.com               Name
falloftherepublic.info              Name
falloftherepublic.net               Name
falloftherepublic.org               Name
falloftherepublic.us                Name
falloftherepublicfilm.com           Name
falloftherepublicmovie.com          Name
gangstagov.com                      Name
gangstagov.us                       Name
gangstainchief.com                  Name
gangstergov.us                      Name
gangsterincheif.com                 Name
gangsterinchief.com                 Name
gangsterinchief.net                 Name
gansterinchief.com                  Name
georgewashingtonposse.com           Name
georgewashingtonsposse.com          Name
georgiagrayce.com                   Name
georgiajones.us                     Name
glennbeckdeception.com              Name
globalistconquest.com               Name
goodguyswithguns.com                Name
goodguyswithguns.info               Name
goodguyswithguns.net                Name
goodguyswithguns.org                Name
goodguyswithguns.tv                 Name
goodguyswithguns.us                 Name
hardkill.us                         Name
hotep.news                          Name
humanpreservationsystem.com         Name
humanpreservationsystem.org         Name
iamwithgeorgewashington.com         Name
ickenomics.com                      Name
ickonomics.com                      Name
imwithgeorgewashington.com          Name
infobabe.us                         Name
         Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 27 of 77




infobabes.us                         Name
infowars.net                         Name
infowars.org                         Name
infowars.productions                 Name
infowarsart.com                      Name
infowarsartilary.com                 Name
infowarsartilery.com                 Name
infowarsartillary.com                Name
infowarsartillery.com                Name
infowarsbabes.com                    Name
infowarsbabes.net                    Name
infowarscoffee.com                   Name
infowarsdaily.com                    Name
infowarsdefensefund.com              Name
infowarsenergy.com                   Name
infowarsfood.com                     Name
infowarsguardian.com                 Name
infowarshealth.com                   Name
infowarshealthnews.com               Name
infowarshome.com                     Name
infowarshop.com                      Name
infowarshousehold.com                Name
infowarsinsider.com                  Name
infowarsinsider.net                  Name
infowarsinvestigates.com             Name
infowarsinvestigations.com           Name
infowarslegalfund.com                Name
infowarslife.com                     Name
infowarslife.net                     Name
infowarslife.org                     Name
infowarsmedia.com                    Name
infowarsmonthly.com                  Name
infowarsnews.com                     Name
infowarsnews.net                     Name
infowarsnewsletter.com               Name
infowarsnightly.com                  Name
infowarsnightlynews.com              Name
infowarsplanet.com                   Name
infowarssocial.com                   Name
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 28 of 77




infowarsspecialreport.com           Name
infowarstonight.com                 Name
infowarstv.live                     Name
infowarsunited.com                  Name
infowarsunited.net                  Name
infowarsunited.org                  Name
infowarsvod.com                     Name
infowarswakeupamerica.com           Name
infowarswakeupamerica.net           Name
infowarsweekly.com                  Name
infowarsworldnews.com               Name
infowarsworldnews.net               Name
infowarsworldnews.org               Name
invisibleempire.us                  Name
jonesbroadcasting.net               Name
jonesbroadcasting.org               Name
jonesinvestigates.com               Name
jonesnewsnetwork.com                Name
jonesproductions.com                Name
jonesproductions.net                Name
jonesreport.com                     Name
kingnimmo.com                       Name
lordnimmo.com                       Name
massnarcissism.com                  Name
narcissist.us                       Name
neworleansatlantis.com              Name
newstruth.us                        Name
newswars.io                         Name
newworldorder4zombies.com           Name
newworldorderforzombies.com         Name
newworldorderplaybook.com           Name
newworldorderzombies.com            Name
nwoplaybook.com                     Name
obamadeception.com                  Name
obamadeception.net                  Name
obamadeception.us                   Name
obamadeception2.net                 Name
obamaenemywithin.com                Name
obamafalloftherepublic.com          Name
         Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 29 of 77




obamafalloftherepublic.net           Name
obamafilm.net                        Name
obamaslave.com                       Name
obamaslave.net                       Name
obamaslavery.com                     Name
obamaslavery.net                     Name
obamaslaves.com                      Name
obamaslaves.net                      Name
obamatakeover.net                    Name
offworldsocial.com                   Name
planetarychange.net                  Name
planetarychange.org                  Name
planetinfowar.com                    Name
planetinfowars.com                   Name
policestate4.com                     Name
powercult.com                        Name
poweredbytruth.net                   Name
printtwopoint0.com                   Name
prisonplanet.biz                     Name
prisonplanet.info                    Name
prisonplanet.net                     Name
prisonplanet.org                     Name
prisonplanetnews.com                 Name
prisonplanetnews.net                 Name
prisonplanetnews.org                 Name
radioviewer.com                      Name
radioviewers.com                     Name
realcoffeeparty.com                  Name
realcoffeeparty.net                  Name
redbloodparty.com                    Name
redpillparty.com                     Name
republicdestroyer.com                Name
republickiller.com                   Name
republicsfall.com                    Name
republicslaststand.com               Name
reveresride.live                     Name
rexjones.info                        Name
rexjones.org                         Name
rexjones.us                          Name
         Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 30 of 77




riseandfallofthenewworldorder.com    Name
riseandfallofthenwo.com              Name
riseoffema.com                       Name
riversofvomit.com                    Name
roadtoconspiracy.com                 Name
schoolof1776.com                     Name
schoolof1776.net                     Name
schoolof1776.org                     Name
schoolof1776.us                      Name
secretsofsurvivalfilm.com            Name
shopfreespeech.com                   Name
slaveobama.com                       Name
slaveobama.net                       Name
slavesofobama.com                    Name
slavesofobama.net                    Name
stealthkill.us                       Name
teapartydeception.com                Name
theendgamemovie.com                  Name
theendofus.com                       Name
theglobalistconquest.com             Name
theinfopimp.net                      Name
theinfowarrior.com                   Name
theinfowarsshop.biz                  Name
theinfowarsshop.com                  Name
theinfowarsshop.info                 Name
theinfowarsshop.net                  Name
theinfowarsshop.org                  Name
theinfowarsshop.us                   Name
theinfowarsstore.biz                 Name
theinfowarsstore.info                Name
theinfowarsstore.mobi                Name
theinfowarsstore.net                 Name
theinfowarsstore.org                 Name
theinfowarsstore.us                  Name
theinvisibleempire.net               Name
theobamadeception.net                Name
theriseisthefall.com                 Name
theriseoffema.com                    Name
theroadtoconspiracy.com              Name
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 31 of 77




theteapartydeception.com            Name
trustytheclown.com                  Name
truthisbulletproof.com              Name
truthmedia.us                       Name
truthnews.mobi                      Name
truthnews.us                        Name
twentyminuteswiththepresident.com   Name
twofacedobama.com                   Name
twofaceobama.com                    Name
tyrannyschampion.com                Name
uarechange.com                      Name
uarechange.net                      Name
uarechange.org                      Name
uberfreedom.com                     Name
urgentradio.com                     Name
urgentradio.net                     Name
v4tw.com                            Name
verboten.news                       Name
violetblog.com                      Name
violetjones.com                     Name
wakeupamericacoffee.biz             Name
wakeupamericacoffee.co              Name
wakeupamericacoffee.com             Name
wakeupamericacoffee.net             Name
wakeupamericacoffee.org             Name
wakeupamericacoffee.us              Name
warroom.show                        Name
warroomshow.com                     Name
washingtonwars.com                  Name
wasselhoff.com                      Name
wasselhoff.net                      Name
wasselhoff.org                      Name
waterdiet.us                        Name
wearechange.biz                     Name
wearechange.info                    Name
wearechange.mobi                    Name
wearechangenews.com                 Name
wearechangenews.net                 Name
wearechangenews.org                 Name
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 32 of 77




wearechangeworld.com                Name
wearechangeworld.org                Name
wearepaulrevere.com                 Name
wearewithgeorgewashington.com       Name
werewithgeorgewashington.com        Name
whatisendgame.com                   Name
whatisendgame.net                   Name
whatisendgame.org                   Name
whatistheendgame.com                Name
whatistheendgame.net                Name
whatistheendgame.org                Name
youarechange.com                    Name
youarechange.net                    Name
youarechange.org                    Name
youarepaulrevere.com                Name
79days.news                         CloudFlare
banthis.tv                          CloudFlare
conspiracyfact.info                 CloudFlare
freeworldnews.tv                    CloudFlare
infowarsbunker.com                  CloudFlare
infowars.com                        CloudFlare
madmaxworld.tv                      CloudFlare
newsmakers.store                    CloudFlare
summitnews.store                    CloudFlare
theinfowar.tv                       CloudFlare
infowarslifestyle.com               CloudFlare
americanelection.news               CloudFlare
ifw.io                              NameCheap
freedomnugget.com                   Ionos
infowarsmag.biz                     Ionos
infowarsmag.com                     Ionos
infowarsmag.info                    Ionos
infowarsmag.net                     Ionos
infowarsmag.org                     Ionos
infowarsmag.us                      Ionos
infowarsmagazine.com                Ionos
infowarsmagazine.net                Ionos
infowarsmagazine.org                Ionos
infowarsnewspaper.com               Ionos
        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 33 of 77




infowarsnewspaper.net               Ionos
infowarsnewspaper.org               Ionos
infowarsshop.biz                    Ionos
infowarsshop.com                    Ionos
infowarsshop.net                    Ionos
infowarsshop.org                    Ionos
infowarsstore.biz                   Ionos
infowarsstore.com                   Ionos
infowarsstore.net                   Ionos
infowarsstore.org                   Ionos
infowarsthemagazine.com             Ionos
infowarsthemagazine.net             Ionos
infowarsthemagazine.org             Ionos
ranter.us                           Ionos
shopinfowars.biz                    Ionos
shopinfowars.net                    Ionos
shopinfowars.org                    Ionos
soldiersoftherepublic.com           Ionos
theinfowarsmag.com                  Ionos
theinfowarsmag.net                  Ionos
theinfowarsmag.org                  Ionos
theinfowarsmagazine.com             Ionos
theinfowarsmagazine.net             Ionos
theinfowarsmagazine.org             Ionos
theinfowarsnewspaper.com            Ionos
theinfowarsnewspaper.net            Ionos
theinfowarsnewspaper.org            Ionos
prisonplanet.tv                     Register.com
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 34 of 77

Debtor          Free Speech Systems, LLC                                                                                Case number (If known) 22-60043
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                        $3,695,209.60

81. Deposits and prepayments. Copy line 9, Part 2.                                                             $

82. Accounts receivable. Copy line 12, Part 3.                                                                     $

83. Investments. Copy line 17, Part 4.                                                                                       $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $1,627,107.43

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $403,873.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $1,288,172.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                    $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $15

90. All other assets. Copy line 78, Part 11.                                                    +                  $180,690.00

91. Total. Add lines 80 through 90 for each column                                                         $       ,2    ,    .      + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $    ,2     ,   .




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                               page 9
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 35 of 77

Fill in this information to identify the case:

Debtor name         Free Speech Systems, LLC

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF TEXAS

Case number (if known)             22-60043
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.

2.1
      PQPR Holdings Limited
      LLC                                          Describe debtor's property that is subject to a lien             $53,646,687.84                   Unknown
      Creditor's Name                              Please see attached.
      3005 S Lamar Blvd Ste
      D109-317
      Austin, TX 78704-8864
      Creditor's mailing address                   Describe the lien
                                                   Uniform Commercial Code Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2020/08/13                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Security Bank of Crawford                    Describe debtor's property that is subject to a lien                   $80,161.04              $120,000.00
      Creditor's Name                              2021 Winnebago Adventurer Model 35 F (VIN:
                                                   1F66F5DN1LOA03038)
      PO Box 90
      Crawford, TX 76638
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
                      Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 36 of 77

Debtor      Free Speech Systems, LLC                                                           Case number (if known)         22-60043
            Name

          No                                       Contingent
          Yes. Specify each creditor,              Unliquidated
      including this creditor and its relative     Disputed
      priority.




                                                                                                                        $53,726,848.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  88

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 37 of 77




                              EXHIBIT

                                D-2.1
                       Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 38 of 77

Fill in this information to identify the case:

Debtor name        Free Speech Systems, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS

Case number (if known)           22-60043
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Addshoppers, Inc.                                                    Contingent
          15806 Brookway Dr Ste 200                                            Unliquidated
          Huntersville, NC 28078                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Critical Vendor paid $2,191.33 in accordance with
          Last 4 digits of account number                                   Order, see Docket #43.
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Air Supply of North Texas aka                                        Contingent
          Prevision Oxygen                                                     Unliquidated
          2829 Fort Worth Avenue                                               Disputed
          Dallas, TX 75211
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Airco Mechancial, LTD                                                Contingent
          PO Box 1598                                                          Unliquidated
          Round Rock, TX 78680                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $199,678.58
          American Express                                                     Contingent
          200 Vesey Street                                                     Unliquidated
          New York, NY 10285
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 11
                                                                                                          56305
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 39 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $404.76
         American Media / Reality Zone                                Contingent
         PO Box 4646
                                                                      Unliquidated
         Westlake Village, CA 91359
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         AT&T Mobile                                                  Contingent
         PO Box 5001                                                  Unliquidated
         Carol Stream, IL 60197-5001                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Atomial, LLC                                                 Contingent
         1920 E. Riverside Drive Suie A-120 #124                      Unliquidated
         Austin, TX 78741                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Austin Security & Investigation Solution                     Contingent
         PO Box 2904                                                  Unliquidated
         Pflugerville, TX 78691                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Critical Vendor paid $19,334.48 in accordance with
         Last 4 digits of account number                           Order, see Docket #43.
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $58,280.00
         Blott, Jacquelyn, Attorney at Law                            Contingent
         200 University Boulevard Suite 225 #251                      Unliquidated
         Round Rock, TX 78665                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $50,000.00
         Brennan Gilmore                                              Contingent
         c/o Civil Rights Clinic                                      Unliquidated
         600 New Jersey Ave NW
                                                                      Disputed
         Washington, DC 20001
                                                                   Basis for the claim: Litigation Settlement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Campco                                                       Contingent
         4625 W. Jefferson Blvd
                                                                      Unliquidated
         Los Angeles, CA 90016
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 40 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Carlee Soto Parisi                                           Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Carlos M. Soto                                               Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $90,000.00
         Christopher Sadowski                                         Contingent
         c/o Copy Cat Legal PLLC
                                                                      Unliquidated
         3111 N. University Drive
         Pompano Beach, FL 33065                                      Disputed

         Date(s) debt was incurred                                 Basis for the claim: Asserted copyright
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         City of Austin                                               Contingent
         PO Box 2267                                                  Unliquidated
         Austin, TX 78783                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $24.23
         CTRMA Processing                                             Contingent
         PO Box 734182                                                Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         CustomTattooNow.com                                          Contingent
         16107 Kensington Dr #172
                                                                      Unliquidated
         Sugar Land, TX 77479
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         David Icke Books Limited                                     Contingent
         1a Babbington Lane
                                                                      Unliquidated
         Derby, England DE11SU
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 3 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 41 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $150,000.00
         David Jones                                                  Contingent
         3005 S Lamar Blvd Ste D109-317                               Unliquidated
         Austin, TX 78704-8864                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         David Wheeler                                                Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Donna Soto                                                   Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         eCommerce CDN, LLC                                           Contingent
         221 E 63rs Street                                            Unliquidated
         Savannah, GA 31405                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Critical Vendor paid $1,070.85 in accordance with
         Last 4 digits of account number                           Order, see Docket #43.
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Elevated Solutions Group                                     Contingent
         706 W Ben White Blvd, Bldg B, Ste 188                        Unliquidated
         Austin, TX 78740                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Francine Wheeler                                             Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Getty Images, Inc.                                           Contingent
         PO Box 953604                                                Unliquidated
         Saint Louis, MO 63195-3604                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Critical Vendor paid $10,121.38 in accordance with
         Last 4 digits of account number                           Order, see Docket #43.
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 4 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 42 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,000.00
         Gibson, Ronald                                               Contingent
         4012 Pleasant Grove Church Rd                                Unliquidated
         Shelby, NC 28150-2842                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Gracenote Media Services, LLC                                Contingent
         29421 Network Place                                          Unliquidated
         Chicago, IL 60673-1294                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Greenair, Inc.                                               Contingent
         23569 Center Ridge Road                                      Unliquidated
         Westlake, OH 44145                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Ian Hockley                                                  Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Impact Fire Services LLC                                     Contingent
         PO Box 735063                                                Unliquidated
         Dallas, TX 75373-5063                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Jacqueline Barden                                            Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         JCE SEO                                                      Contingent
         6101 Broadway                                                Unliquidated
         San Antonio, TX 78209                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 5 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 43 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Jennifer Hensel                                              Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Jullian Soto-Marino                                          Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Justin Lair                                                  Contingent
         1313 Lookout Ave
                                                                      Unliquidated
         Klamath Falls, OR 97601
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,000.00
         JW JIB Productions, LLC                                      Contingent
         2921 Carvelle Drive                                          Unliquidated
         West Palm Beach, FL 33404                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Konica Minolta Premier Finance                               Contingent
         PO Box 41602                                                 Unliquidated
         Philadelphia, PA 19101-1602                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Kount An Equifax Company                                     Contingent
         PO Box 740253                                                Unliquidated
         Atlanta, GA 30374                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $89,882.37
         LCJ Pictures LLC                                             Contingent
         PO Box 19549                                                 Unliquidated
         Austin, TX 78760                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 6 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 44 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Leonard Pozner c/o Jarrod B. Martin                          Contingent
         Chamberlain Hrdlicka
                                                                      Unliquidated
         1200 Smith Street, Suite 1400
         Houston, TX 77002                                            Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Lumen / Level 3 Communications                               Contingent
         PO Box 910182                                                Unliquidated
         Denver, CO 80291-0182                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Lyman, Daniel                                                Contingent
         5832 Elton Road                                              Unliquidated
         Venice, FL 34293                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Marcel Fontaine
         c/o Jarrod B. Martin, Chamberlain                            Contingent
         Hrdlicka                                                     Unliquidated
         1200 Smith Street, Suite 1400                                Disputed
         Houston, TX 77002
                                                                   Basis for the claim: Litigation Claim
         Date(s) debt was incurred 2018
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Mark Barden                                                  Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Miller, Sean                                                 Contingent
         PO Box 763
                                                                      Unliquidated
         Wyalusing, PA 18853
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         MRJR Holdings, LLC                                           Contingent
         PO Box 27740
                                                                      Unliquidated
         Paradise Valley, NV 89426
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 7 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 45 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Neil Heslin c/o Jarrod B. Martin                             Contingent
         Chamberlain Hrdlicka
                                                                      Unliquidated
         1200 Smith Street, Suite 1400
         Houston, TX 77002                                            Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Nicole Hockley                                               Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $82,619.55
         One Party America, LLC                                       Contingent
         6700 Woodlands Parkway Suite 230-309
                                                                      Unliquidated
         Spring, TX 77382
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         PQPR Holdings Limited LLC                                    Contingent
         3005 S Lamar Blvd Ste D109-317
                                                                      Unliquidated
         Austin, TX 78704-8864
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $153,826.91
         Randazza Law Firm                                            Contingent
         2764 Lake Sahara Drive                                       Unliquidated
         Suite 109                                                    Disputed
         Las Vegas, NV 89117
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         RatsMedical.com                                              Contingent
         1211 E Bridle Trail Rd
                                                                      Unliquidated
         Draper, UT 84020
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Ready Alliance Group, Inc.                                   Contingent
         PO Box 1709
                                                                      Unliquidated
         Sandpoint, ID 83864
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 8 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 46 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $36,436.00
         Reeves Law Firm                                              Contingent
         702 Rio Grande St.                                           Unliquidated
         Suite 203                                                    Disputed
         Austin, TX 78701
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Robert Parker                                                Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Scarlett Lewis c/o Jarrod B. Martin                          Contingent
         Chamberlain Hrdlicka
                                                                      Unliquidated
         1200 Smith Street, Suite 1400
         Houston, TX 77002                                            Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $35,035.00
         Skousen, Joel                                                Contingent
         PO Box 565
                                                                      Unliquidated
         Spring City, UT 84662
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Sparkletts & Sierra Springs                                  Contingent
         PO Box 660579                                                Unliquidated
         Dallas, TX 75266-0579                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Spectrum Enterprise aka Time Warner                          Contingent
         Cable
                                                                      Unliquidated
         PO Box 60074
         City of Industry, CA 91716                                   Disputed

         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $239.70
         Stetson Deese                                                Contingent
         328 Greenland Blvd.                                          Unliquidated
         #81                                                          Disputed
         Death Valley, CA 92328
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 9 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 47 of 77

Debtor      Free Speech Systems, LLC                                                        Case number (if known)            22-60043
            Name

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Texas Gas Service                                            Contingent
         PO Box 219913                                                Unliquidated
         Kansas City, MO 64121                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Verizon Wireless                                             Contingent
         PO Box 660108                                                Unliquidated
         Dallas, TX 75266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Veronique De La Rosa
         c/o Jarrod B. Martin, Chamberlain                            Contingent
         Hrdlicka                                                     Unliquidated
         1200 Smith Street, Suite 1400                                Disputed
         Houston, TX 77002
                                                                   Basis for the claim: Litigation Claim
         Date(s) debt was incurred 2018
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Watson, Paul                                                 Contingent
         9 Riverdal Road Ranmoor Sheffield
                                                                      Unliquidated
         South Yorkshire, United Kingdom S10 3FA
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         William Aldenberg                                            Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC
                                                                      Unliquidated
         303 Colorado St, STE 2850
         Austin, TX 78701                                             Disputed

         Date(s) debt was incurred 2018                            Basis for the claim: Litigation Claim
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         William Sherlach                                             Contingent
         c/o Ryan Chapple, Cain & Skarnulis PLLC                      Unliquidated
         303 Colorado St, STE 2850                                    Disputed
         Austin, TX 78701
                                                                   Basis for the claim: Litigation Claim
         Date(s) debt was incurred 2018
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Willow Grove Productions                                     Contingent
         1810 Rockcliff Road                                          Unliquidated
         Austin, TX 78746                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 10 of 11
                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 48 of 77

Debtor       Free Speech Systems, LLC                                                               Case number (if known)            22-60043
             Name

3.68      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $17,567.78
          Wisconsin Dept. of Revenue                                           Contingent
          PO Box 3028
                                                                               Unliquidated
          Milwaukee, WI 53201-3028
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?       No     Yes

3.69      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          WMQM-AM 1600                                                        Contingent
          21 Stephen Hill Road                                                Unliquidated
          Atoka, TN 38004                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Critical Vendor paid $2,291.67 in accordance with
          Last 4 digits of account number                                  Order, see Docket #43.
                                                                           Is the claim subject to offset?       No     Yes

3.70      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Yan Luis                                                             Contingent
          c/o Noor A. Sabb
                                                                               Unliquidated
          280 North Broadway, STE 300
          Jericho, NY 11753                                                    Disputed

          Date(s) debt was incurred                                        Basis for the claim: ADA Claim
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       973,994.88

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          973,994.88




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 11
                     Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 49 of 77

Fill in this information to identify the case:

Debtor name       Free Speech Systems, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     22-60043
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Employment
           lease is for and the nature of        Agreement
           the debtor's interest                 For Employment of
                                                 Alex Jones
               State the term remaining          "At will" Basis
                                                                                    Alex Jones
           List the contract number of any                                          3019 Alvin Devane Blvd
                 government contract                                                Austin, TX 78741


2.2.       State what the contract or            Financial Services
           lease is for and the nature of        Agreement
           the debtor's interest                 For Credit Card
                                                 Processing and Other
                                                 Financial Service                  Auriam Services, LLC
               State the term remaining          9 years and 2 months               c/o Lynn Butler, Husch Blackwell LLP
                                                                                    111 Congress Avenue
           List the contract number of any                                          Suite 1400
                 government contract                                                Austin, TX 78701


2.3.       State what the contract or            Service Agreement
           lease is for and the nature of        For Back Ground
           the debtor's interest                 Checks and
                                                 Investigative Services
               State the term remaining          9 Months, Renews
                                                 Automatically                      Austin Security & Investigation Solution
           List the contract number of any                                          PO Box 2904
                 government contract                                                Pflugerville, TX 78691


2.4.       State what the contract or            Lease Agreement
           lease is for and the nature of        Studio Lease
           the debtor's interest

               State the term remaining          2 years and 5 months               BCC UBC LLC
                                                                                    901 S. Mopax Expressway Plaza I
           List the contract number of any                                          Suite 60
                 government contract                                                Austin, TX 78746



Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
                     Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 50 of 77
Debtor 1 Free Speech Systems, LLC                                                Case number (if known)   22-60043
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Office Equipment lease
          lease is for and the nature of    for copiers / printers.
          the debtor's interest

             State the term remaining
                                                                        DeLage Landen Financial Services, Inc.
          List the contract number of any                               1111 Old Eagle School Road
                government contract                                     Wayne, PA 19087


2.6.      State what the contract or        Building and Land
          lease is for and the nature of    Lease Agreement
          the debtor's interest             Warehouse Lease
                                            Lease rejected per
                                            Court Order on 1/3/23
                                            (See Docket #367).
             State the term remaining       8 months                    Expo Glo, LLC
                                                                        1717 McKinney Ave.
          List the contract number of any                               Suite 1900
                government contract                                     Dallas, TX 75202-1236


2.7.      State what the contract or        2301 E Ben White Blvd,
          lease is for and the nature of    Austin, TX 78741,
          the debtor's interest             space 1074 & 1035
                                                                        Public Storage
             State the term remaining       Month to Month              C/O Bennett G. Fisher
                                                                        Lewis Brisbois Bisgaard & Smith LLP
          List the contract number of any                               24 Greenway Plaza, Suite 1400
                government contract                                     Houston, TX 77046




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
                  Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 51 of 77

Fill in this information to identify the case:

Debtor name      Free Speech Systems, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)   22-60043
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Alex E. Jones               3019 Alvin Devane Blvd.                                   Neil Heslin c/o Jarrod             D
                                      Austin, TX 78741                                          B. Martin                          E/F       3.47
                                                                                                                                   G




   2.2    Alex E. Jones               3019 Alvin Devane Blvd.                                   Scarlett Lewis c/o                 D
                                      Austin, TX 78741                                          Jarrod B. Martin                   E/F       3.56
                                                                                                                                   G




   2.3    Alex E. Jones               3019 Alvin Devane Blvd.                                   Leonard Pozner c/o                 D
                                      Austin, TX 78741                                          Jarrod B. Martin                   E/F       3.40
                                                                                                                                   G




   2.4    Alex E. Jones               3019 Alvin Devane Blvd.                                   Veronique De La                    D
                                      Austin, TX 78741                                          Rosa                               E/F       3.63
                                                                                                                                   G




   2.5    Alex E. Jones               3019 Alvin Devane Blvd.                                   Marcel Fontaine                    D
                                      Austin, TX 78741                                                                             E/F       3.43
                                                                                                                                   G



Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 3
                 Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 52 of 77

Debtor    Free Speech Systems, LLC                                                Case number (if known)   22-60043


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Alex E. Jones            3019 Alvin Devane Blvd.                             Carlee Soto Parisi                 D
                                   Austin, TX 78741                                                                       E/F   3.12
                                                                                                                          G




  2.7     Alex E. Jones            3019 Alvin Devane Blvd.                             Carlos M. Soto                     D
                                   Austin, TX 78741                                                                       E/F   3.13
                                                                                                                          G




  2.8     Alex E. Jones            3019 Alvin Devane Blvd.                             David Wheeler                      D
                                   Austin, TX 78741                                                                       E/F   3.20
                                                                                                                          G




  2.9     Alex E. Jones            3019 Alvin Devane Blvd.                             Donna Soto                         D
                                   Austin, TX 78741                                                                       E/F   3.21
                                                                                                                          G




  2.10    Alex E. Jones            3019 Alvin Devane Blvd.                             Francine Wheeler                   D
                                   Austin, TX 78741                                                                       E/F   3.24
                                                                                                                          G




  2.11    Alex E. Jones            3019 Alvin Devane Blvd.                             Ian Hockley                        D
                                   Austin, TX 78741                                                                       E/F   3.29
                                                                                                                          G




  2.12    Alex E. Jones            3019 Alvin Devane Blvd.                             Jacqueline Barden                  D
                                   Austin, TX 78741                                                                       E/F   3.31
                                                                                                                          G




  2.13    Alex E. Jones            3019 Alvin Devane Blvd.                             Jennifer Hensel                    D
                                   Austin, TX 78741                                                                       E/F   3.33
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 3
                 Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 53 of 77

Debtor    Free Speech Systems, LLC                                                Case number (if known)   22-60043


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.14    Alex E. Jones            3019 Alvin Devane Blvd.                             Jullian Soto-Marino                D
                                   Austin, TX 78741                                                                       E/F   3.34
                                                                                                                          G




  2.15    Alex E. Jones            3019 Alvin Devane Blvd.                             Mark Barden                        D
                                   Austin, TX 78741                                                                       E/F   3.44
                                                                                                                          G




  2.16    Alex E. Jones            3019 Alvin Devane Blvd.                             Nicole Hockley                     D
                                   Austin, TX 78741                                                                       E/F   3.48
                                                                                                                          G




  2.17    Alex E. Jones            3019 Alvin Devane Blvd.                             Robert Parker                      D
                                   Austin, TX 78741                                                                       E/F   3.55
                                                                                                                          G




  2.18    Alex E. Jones            3019 Alvin Devane Blvd.                             William Aldenberg                  D
                                   Austin, TX 78741                                                                       E/F   3.65
                                                                                                                          G




  2.19    Alex E. Jones            3019 Alvin Devane Blvd.                             William Sherlach                   D
                                   Austin, TX 78741                                                                       E/F   3.66
                                                                                                                          G




  2.20    Alex E. Jones            3019 Alvin Devane Blvd.                             Yan Luis                           D
                                   Austin, TX 78741                                                                       E/F   3.70
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 3
                     Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 54 of 77




Fill in this information to identify the case:

Debtor name         Free Speech Systems, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)    22-60043
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtors name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtors fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                           $20,989,725.21
      From 1/01/2022 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $31,670,153.75
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                           $35,231,342.69
      From 1/01/2020 to 12/31/2020
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 55 of 77
Debtor       Free Speech Systems, LLC                                                     Case number (if known) 22-60043



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.1.
             American Express                                07/05/22                      $1,013,825.21           Secured debt
             200 Vesey Street                                06/29/22                                              Unsecured loan repayments
             New York, NY 10285                              06/13/22
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.2.
             PQPR Holdings Limited LLC                       07/26/22                      $1,728,051.95           Secured debt
             3005 S Lamar Blvd Ste D109-317                  06/30/22
                                                                                                                   Unsecured loan repayments
             Austin, TX 78704-8864                           06/28/22
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


      3.3.
             SEE ALSO ATTACHED EX                                                                    $0.00         Secured debt
             "SOFA-PART 2.3"                                                                                       Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.4.
             Farrar & Ball LLP                               07/27/22                      $1,097,484.57           Secured debt
             c/o Mark Bankston                                                                                     Unsecured loan repayments
             1117 Herkimer Street                                                                                  Suppliers or vendors
             Houston, TX 77008                                                                                     Services
                                                                                                                    Other Paid per Court Order to
                                                                                                                 Farrar & Ball LLP, C/O Mark
                                                                                                                 Bankston, FBO Texas
                                                                                                                 Plaintiffs

      3.5.
             Scarlett Lewis c/o Jarrod B. Martin             7/27/22                       $1,097,484.57           Secured debt
             Chamberlain Hrdlicka                                                                                  Unsecured loan repayments
             1200 Smith Street, Suite 1400                                                                         Suppliers or vendors
             Houston, TX 77002                                                                                     Services
                                                                                                                   Other Paid to Farrar & Ball
                                                                                                                 LLP, C/O Mark Bankston, FBO
                                                                                                                 Texas Plaintiffs including
                                                                                                                 Scarlett Lewis

      3.6.
             Neil Heslin c/o Jarrod B. Martin                07/27/22                      $1,097,484.57           Secured debt
             Chamberlain Hrdlicka                                                                                  Unsecured loan repayments
             1200 Smith Street, Suite 1400                                                                         Suppliers or vendors
             Houston, TX 77002                                                                                     Services
                                                                                                                   Other Paid to Farrar & Ball
                                                                                                                 LLP, C/O Mark Bankston, FBO
                                                                                                                 Texas Plaintiffs including Neil
                                                                                                                 Heslin




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 56 of 77
Debtor       Free Speech Systems, LLC                                                           Case number (if known) 22-60043



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.7.
             Leonard Pozner c/o Jarrod B. Martin                   07/27/22                      $1,097,484.57           Secured debt
             Chamberlain Hrdlicka                                                                                        Unsecured loan repayments
             1200 Smith Street, Suite 1400                                                                               Suppliers or vendors
             Houston, TX 77002                                                                                           Services
                                                                                                                         Other Paid to Farrar & Ball
                                                                                                                       LLP, C/O Mark Bankston, FBO
                                                                                                                       Texas Plaintiffs including
                                                                                                                       Leonard Pozner

      3.8.
             Marcel Fontaine                                       07/27/22                      $1,097,484.57           Secured debt
             c/o Jarrod B. Martin, Chamberlain                                                                           Unsecured loan repayments
             Hrdlicka                                                                                                    Suppliers or vendors
             1200 Smith Street, Suite 1400                                                                               Services
             Houston, TX 77002
                                                                                                                         Other Paid to Farrar & Ball
                                                                                                                       LLP, C/O Mark Bankston, FBO
                                                                                                                       Texas Plaintiffs including
                                                                                                                       Marcel Fontaine

      3.9.
             Veronique De La Rosa                                  07/27/22                      $1,097,484.57           Secured debt
             c/o Jarrod B. Martin, Chamberlain                                                                           Unsecured loan repayments
             Hrdlicka                                                                                                    Suppliers or vendors
             1200 Smith Street, Suite 1400                                                                               Services
             Houston, TX 77002
                                                                                                                         Other Paid to Farrar & Ball
                                                                                                                       LLP, C/O Mark Bankston, FBO
                                                                                                                       Texas Plaintiffs including
                                                                                                                       Veronique De La Rosa


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.   PQPR Holdings Limited LLC                             07/26/22                      $3,078,934.33         Payments on Promissory Note
             3005 S Lamar Blvd Ste D109-317                        06/30/22                                            and Advances
             Austin, TX 78704-8864                                 06/28/22
             72% Owned by Owner

      4.2.   David Jones                                           10/7/21                         $150,000.00         Payments on Advances
             3005 S Lamar Blvd Ste D109-317
             Austin, TX 78704-8864
             Relative of the Owner

      4.3.   SEE ALSO ATTACHED EX "SOFA                                                                    $0.00
             -PART 2.4"


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 57 of 77
Debtor       Free Speech Systems, LLC                                                           Case number (if known) 22-60043



          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtors direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacitywithin 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Leonard Pozner, Veronique                 Determination of            U.S. Bankruptcy Court                         Pending
             De La Rosa v. Free Speech                 removed claim               Western District                              On appeal
             Systems LLC                                                           of Texas (Austin)                             Concluded
             22-01021-hcm                                                          903 San Jacinto Blvd, Suite
                                                                                   322
                                                                                   Austin, TX 78701

      7.2.   Marcel Fontaine v. Alex E.                Detmination of              U.S. Banktuptcy Court                         Pending
             Jones, InfoWars, LLC, Free                removed claim               Western District                              On appeal
             Speech Systems                                                        of Texas (Austin)                             Concluded
             22-01022-hcm                                                          903 San Jacinto, Suite 322
                                                                                   Austin, TX 78701

      7.3.   SEE CONTINUATION                                                                                                    Pending
             ATTACHED AS EXHIBIT                                                                                                 On appeal
             "SOFA-PART 3.7"                                                                                                     Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 58 of 77
Debtor        Free Speech Systems, LLC                                                           Case number (if known) 22-60043



              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

      9.1.    Bartlett Emergency Group,               Cash
              PA
              349 Bartlett Road
              Crane, TX 79731                                                                                   09/02/2021                    $10,000.00

              Recipients relationship to debtor




Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets  Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.                                                                                                           06/06/2022 -
                                                                                                                      $100,000.00
                                                                                                                      (retainer)
                                                                                                                      07/28/2022 -
                                                                                                                      $84,034.12
               Shannon & Lee LLP                                                                                      07/29/2022 -
               700 Milam Street, Suite 1300                                                                           $50,000.00
               Houston, TX 77002                                                                                      (retainer)            $234,034.12

               Email or website address
               https://www.shannonleellp.com/

               Who made the payment, if not debtor?
               Payments made through SALLC
               trust account


      11.2.    Schwartz Associates LLC
               712 Main Street, Suite 1830
               Houston, TX 77002                                                                                      06/10/2022            $398,030.00

               Email or website address
               https://schwartzassociates.us/

               Who made the payment, if not debtor?




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
                     Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 59 of 77
Debtor        Free Speech Systems, LLC                                                           Case number (if known) 22-60043



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.3.                                                                                                             SEE
                Law Offices of Ray Battaglia                                                                            ATTACHED
                66 Granburg Cir                                                                                         EXHIBIT
                San Antonio, TX 78218-3010                                                                              "SOFA 11"              $204,309.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtors care

Part 9:       Personally Identifiable Information




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
                     Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 60 of 77
Debtor      Free Speech Systems, LLC                                                             Case number (if known) 22-60043



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Name, address, credit card information
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtors name, or for the debtors benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                Does debtor
                                                             access to it                                                                     still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                Does debtor
                                                             access to it                                                                     still have it?
      Public Storage                                         Alex Jones                            Alex Jones personal property                   No
      C/O Bennett G. Fisher                                                                                                                       Yes
      Lewis Brisbois Bisgaard & Smith LLP
      24 Greenway Plaza, Suite 1400
      Houston, TX 77046



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 61 of 77
Debtor      Free Speech Systems, LLC                                                            Case number (if known) 22-60043




      Owner's name and address                              Location of the property              Describe the property                                    Value
      Alex Jones                                            2301 E Ben White Blvd                 Alex Jones personal property                          Unknown
      3019 Alvin Devane Blvd                                Space 1074 & Space 1035               in the Storage Units
      Austin, TX 78741                                      Austin, TX 78741


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtors books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 8
                      Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 62 of 77
Debtor      Free Speech Systems, LLC                                                            Case number (if known) 22-60043



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Schwartz Associates LLC                                                                                         05/19/2022 to
                    712 Main Street, Ste. 1830                                                                                      09/20/2022
                    Houston, TX 77006
      26a.2.        Melinda Flores                                                                                                  09/26/2016 to
                    261 Ashleaf Dr                                                                                                  07/29/2022
                    Buda, TX 78610

    26b. List all firms or individuals who have audited, compiled, or reviewed debtors books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Schwartz Associates LLC                                                                                         05/19/2022 to
                    712 Main Street, Ste. 1830                                                                                      09/20/2022
                    Houston, TX 77006
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        Bob Roe
                    219 Black Wolf Run
                    Austin, TX 78738

    26c. List all firms or individuals who were in possession of the debtors books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Schwartz Associates LLC
                    712 Main Street, Ste. 1830
                    Houston, TX 77006
      26c.2.        Melinda Flores
                    261 Ashleaf Dr
                    Buda, TX 78610
      26c.3.        Stephen Lemmon
                    1801 South MoPac Expressway
                    Suite 320
                    Austin, TX 78746
      26c.4.        Jeffrey Shulse
                    3511 Pinemont
                    #C5
                    Houston, TX 77018

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

    Inventories
    Have any inventories of the debtors property been taken within 2 years before filing this case?




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 9
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 63 of 77
Debtor       Free Speech Systems, LLC                                                          Case number (if known) 22-60043



             Name of the person who supervised the taking of the                    Date of inventory       The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtors officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Alex Jones                             3019 Alvin Devane Blvd                              Owner                                   100
                                             Austin, TX 78741

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Marc Schwartz                          712 Main Street, Ste. 1830                          Chief Restructuring Officer
                                             Houston, TX 77002



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                      7/27/22
      .                                                                                                         7/8/22
             Alex Jones                                                                                         6/29/22
             3019 Alvin Devane Blvd                                                                             6/15/22
             Austin, TX 78741                         932,277.89                                                6/13/22             Draws

             Relationship to debtor
             Owner


      30.2                                                                                                      7/26/22
      .    PQPR Holdings Limited LLC                                                                            6/30/22
             3005 S Lamar Blvd Ste                                                                              6/28/22
             D109-317                                                                                           6/13/22             Loans and
             Austin, TX 78704-8864                    3,078,934.33                                              5/31/22             Advances

             Relationship to debtor
             Affliate ->20% Owned by or
             for the benefit of AEJ


      30.3 MRJR Holdings, LLC
      .    PO Box 27740                                                                                         08/13/2021 -        For Consulting
             Paradise Valley, NV 89426                $240,000                                                  06/24/2022          Services Provided

             Relationship to debtor
             Sister Company


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
                    Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 64 of 77
Debtor      Free Speech Systems, LLC                                                            Case number (if known) 22-60043




           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on


Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
                Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 65 of 77


                                                 Part 2.3. Payments to Creditors wihtin 90 days
   Date                           Name                                               Address                        Reasons for Payment    Amount
07/22/2022 Addshoppers, Inc                                  15806 Brookway Dr Ste 200 Huntersville, NC 28078      Seuppliers or Vendors    2,989.00
07/22/2022 Addshoppers, Inc                                  15807 Brookway Dr Ste 200 Huntersville, NC 28078      Seuppliers or Vendors    2,989.00
06/10/2022 Addshoppers, Inc                                  15808 Brookway Dr Ste 200 Huntersville, NC 28078      Seuppliers or Vendors    2,989.00
05/09/2022 Addshoppers, Inc                                  15809 Brookway Dr Ste 200 Huntersville, NC 28078      Seuppliers or Vendors    2,989.00
05/26/2022 Air Supply of North Texas aka Precision Oxygen    2829 Fort Worth Avenue Dallas, TX 75211               Seuppliers or Vendors      229.18
07/22/2022 Airco Mechanical, LTD                             PO Box 1598 Round Rock, TX 78680                      Seuppliers or Vendors    6,491.86
06/13/2022 Airco Mechanical, LTD                             PO Box 1598 Round Rock, TX 78681                      Seuppliers or Vendors      641.39
05/23/2022 Airco Mechanical, LTD                             PO Box 1598 Round Rock, TX 78682                      Seuppliers or Vendors    3,824.52
08/19/2022 AT&T Mobile                                       PO Box 5001 Carol Stream, IL 60197 5001               Seuppliers or Vendors    5,167.41
06/03/2022 AT&T Mobile                                       PO Box 5001 Carol Stream, IL 60197 5002               Seuppliers or Vendors    3,919.83
05/05/2022 AT&T Mobile                                       PO Box 5001 Carol Stream, IL 60197 5003               Seuppliers or Vendors    3,919.80
                                                             1920 E. Riverside Drive Suite A 120 #124 Austin, TX
07/22/2022 Atomial, LLC                                      78741                                                 Seuppliers or Vendors   25,200.00
                                                             1921 E. Riverside Drive Suite A 120 #124 Austin, TX
06/01/2022 Atomial, LLC                                      78741                                                 Seuppliers or Vendors   25,200.00
                                                             1922 E. Riverside Drive Suite A 120 #124 Austin, TX
05/25/2022 Atomial, LLC                                      78741                                                 Seuppliers or Vendors   25,200.00
                                                             1923 E. Riverside Drive Suite A 120 #124 Austin, TX
05/03/2022 Atomial, LLC                                      78741                                                 Seuppliers or Vendors   25,200.00
08/19/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78691                    Seuppliers or Vendors   16,019.35
08/12/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78692                    Seuppliers or Vendors   28,044.34
07/28/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78693                    Seuppliers or Vendors    2,037.69
07/28/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78694                    Seuppliers or Vendors    6,208.14
07/22/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78695                    Seuppliers or Vendors    6,348.86
07/18/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78696                    Seuppliers or Vendors    5,829.26
07/12/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78697                    Seuppliers or Vendors    6,397.58
06/27/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78698                    Seuppliers or Vendors    6,397.58
06/10/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78699                    Seuppliers or Vendors    6,397.58
06/10/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78700                    Seuppliers or Vendors    6,397.58
05/31/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78701                    Seuppliers or Vendors    6,486.88
05/31/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78702                    Seuppliers or Vendors    3,382.81
05/31/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78703                    Seuppliers or Vendors    3,972.78
05/19/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78704                    Seuppliers or Vendors    3,972.78
05/19/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78705                    Seuppliers or Vendors    2,029.69
05/11/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78706                    Seuppliers or Vendors    3,972.78
05/09/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78707                    Seuppliers or Vendors    4,541.09
05/02/2022 Austin Security & Investigation Solutions         PO Box 2904 Pflugerville, TX 78708                    Seuppliers or Vendors    4,010.66
                                                             200 University Boulevard Suite 225 #251 Round Rock,
05/25/2022 Blott, Jacquelyn, Attorney at Law                 TX 78665                                              Seuppliers or Vendors   20,000.00
07/05/2022 City of Austin                                    PO Box 2267 Austin, TX 78783                          Seuppliers or Vendors      855.76
07/05/2022 City of Austin                                    PO Box 2267 Austin, TX 78784                          Seuppliers or Vendors      550.69
07/05/2022 City of Austin                                    PO Box 2267 Austin, TX 78785                          Seuppliers or Vendors    3,246.03
07/05/2022 City of Austin                                    PO Box 2267 Austin, TX 78786                          Seuppliers or Vendors    1,213.48
06/01/2022 City of Austin                                    PO Box 2267 Austin, TX 78787                          Seuppliers or Vendors    1,031.78
06/01/2022 City of Austin                                    PO Box 2267 Austin, TX 78788                          Seuppliers or Vendors      491.21
06/01/2022 City of Austin                                    PO Box 2267 Austin, TX 78789                          Seuppliers or Vendors      727.55
06/01/2022 City of Austin                                    PO Box 2267 Austin, TX 78790                          Seuppliers or Vendors    2,974.75
05/03/2022 City of Austin                                    PO Box 2267 Austin, TX 78791                          Seuppliers or Vendors    4,826.58
06/03/2022 CTRMA Processing                                  PO Box 734182 Dallas, TX 75373                        Seuppliers or Vendors       87.00
05/23/2022 CTRMA Processing                                  PO Box 734182 Dallas, TX 75374                        Seuppliers or Vendors      107.21
05/23/2022 CTRMA Processing                                  PO Box 734182 Dallas, TX 75375                        Seuppliers or Vendors       93.40
04/29/2022 CTRMA Processing                                  PO Box 734182 Dallas, TX 75376                        Seuppliers or Vendors       84.39
06/24/2022 eCommerce CDN, LLC                                221 E 63rd Street Savannah, GA 31405                  Seuppliers or Vendors   27,270.00
06/08/2022 eCommerce CDN, LLC                                222 E 63rd Street Savannah, GA 31405                  Seuppliers or Vendors   12,270.00
05/21/2022 eCommerce CDN, LLC                                223 E 63rd Street Savannah, GA 31405                  Seuppliers or Vendors   15,000.00
05/09/2022 eCommerce CDN, LLC                                224 E 63rd Street Savannah, GA 31405                  Seuppliers or Vendors   13,635.00
06/17/2022 Getty Images, Inc                                 PO Box 953604 St. Louis, MO 63195 3604                Seuppliers or Vendors    9,201.25
06/03/2022 Getty Images, Inc                                 PO Box 953604 St. Louis, MO 63195 3605                Seuppliers or Vendors    9,201.25
05/11/2022 Getty Images, Inc                                 PO Box 953604 St. Louis, MO 63195 3606                Seuppliers or Vendors    9,201.25

06/13/2022 Gibson, Ronald                                    4012 Pleasant Grove Church Rd Shelby NC, 28150 2842 Seuppliers or Vendors      1,500.00

04/30/2022 Gibson, Ronald                                    4013 Pleasant Grove Church Rd Shelby NC, 28150 2842 Seuppliers or Vendors      1,500.00
06/17/2022 Gracenote Media Services, LLC                     29421 Network Place Chicago, IL 60673 1294          Seuppliers or Vendors        119.98
06/03/2022 Gracenote Media Services, LLC                     29422 Network Place Chicago, IL 60673 1294          Seuppliers or Vendors        119.98
05/20/2022 Gracenote Media Services, LLC                     29423 Network Place Chicago, IL 60673 1294          Seuppliers or Vendors        119.98
06/24/2022 JCE SEO                                           6101 Broadway San Antonio, TX 78209                 Seuppliers or Vendors      5,000.00
06/09/2022 JCE SEO                    EXHIBIT                6102 Broadway San Antonio, TX 78209                 Seuppliers or Vendors      5,000.00



                                    SOFA - PART 2.3
               Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 66 of 77


                                             Part 2.3. Payments to Creditors wihtin 90 days
   Date                            Name                                         Address                          Reasons for Payment    Amount
05/21/2022 JCE SEO                                       6103 Broadway San Antonio, TX 78209                    Seuppliers or Vendors    5,000.00
05/09/2022 JCE SEO                                       6104 Broadway San Antonio, TX 78209                    Seuppliers or Vendors    5,000.00
07/22/2022 JW JIB Productions, LLC                       2921 Carvelle Drive Riviera Beach, FL 33404            Seuppliers or Vendors    3,500.00
06/24/2022 JW JIB Productions, LLC                       2922 Carvelle Drive Riviera Beach, FL 33404            Seuppliers or Vendors    3,600.00
06/09/2022 JW JIB Productions, LLC                       2923 Carvelle Drive Riviera Beach, FL 33404            Seuppliers or Vendors    3,500.00
05/27/2022 JW JIB Productions, LLC                       2924 Carvelle Drive Riviera Beach, FL 33404            Seuppliers or Vendors    7,000.00
05/18/2022 JW JIB Productions, LLC                       2925 Carvelle Drive Riviera Beach, FL 33404            Seuppliers or Vendors    3,500.00
07/22/2022 Konica Minolta Premier Finance                PO Box 41602 Philadelphia, PA 19101 1602               Seuppliers or Vendors    1,761.27
06/27/2022 Konica Minolta Premier Finance                PO Box 41602 Philadelphia, PA 19101 1603               Seuppliers or Vendors    1,847.87
05/23/2022 Konica Minolta Premier Finance                PO Box 41602 Philadelphia, PA 19101 1604               Seuppliers or Vendors    1,761.27
05/09/2022 Konica Minolta Premier Finance                PO Box 41602 Philadelphia, PA 19101 1605               Seuppliers or Vendors    1,847.87
06/03/2022 Lumen/Level 3 Communications                  PO Box 910182 Denver, CO 80291 0182                    Seuppliers or Vendors    8,960.63
05/23/2022 Lumen/Level 3 Communications                  PO Box 910182 Denver, CO 80291 0183                    Seuppliers or Vendors   10,560.15
05/20/2022 Lumen/Level 3 Communications                  PO Box 910182 Denver, CO 80291 0184                    Seuppliers or Vendors    9,900.70
06/22/2022 Lyman, Daniel                                 5832 Elton Road Venice, FL 34293                       Seuppliers or Vendors    3,500.00
05/20/2022 Lyman, Daniel                                 5833 Elton Road Venice, FL 34293                       Seuppliers or Vendors    3,500.00
06/24/2022 MRJR Holdings, LLC                            PO Box 27740 Las Vegas, NV 89426                       Seuppliers or Vendors   12,000.00
06/17/2022 MRJR Holdings, LLC                            PO Box 27740 Las Vegas, NV 89427                       Seuppliers or Vendors   24,000.00
05/20/2022 MRJR Holdings, LLC                            PO Box 27740 Las Vegas, NV 89428                       Seuppliers or Vendors   12,000.00
05/18/2022 MRJR Holdings, LLC                            PO Box 27740 Las Vegas, NV 89429                       Seuppliers or Vendors   12,000.00
05/12/2022 MRJR Holdings, LLC                            PO Box 27740 Las Vegas, NV 89430                       Seuppliers or Vendors   12,000.00
05/06/2022 MRJR Holdings, LLC                            PO Box 27740 Las Vegas, NV 89431                       Seuppliers or Vendors   12,000.00
07/01/2022 Sparkletts & Sierra Springs                   PO Box 660579 Dallas, TX 75266 0579                    Seuppliers or Vendors      948.12
06/03/2022 Sparkletts & Sierra Springs                   PO Box 660579 Dallas, TX 75266 0580                    Seuppliers or Vendors      945.19
05/23/2022 Sparkletts & Sierra Springs                   PO Box 660579 Dallas, TX 75266 0581                    Seuppliers or Vendors    1,454.39
05/23/2022 Texas Gas Service                             PO Box 219913 Kansas City, MO 64121                    Seuppliers or Vendors      172.48
07/22/2022 Willow Grove Productions                      1810 Rockcliff Road Austin, TX 78746                   Seuppliers or Vendors    2,700.00
05/18/2022 Willow Grove Productions                      1811 Rockcliff Road Austin, TX 78746                   Seuppliers or Vendors    2,450.00
06/17/2022 WMQM AM 1600                                  21 Stephen Hill Road Atoka, TN 38004                   Seuppliers or Vendors    2,500.00
05/23/2022 WMQM AM 1600                                  22 Stephen Hill Road Atoka, TN 38004                   Seuppliers or Vendors    2,500.00
05/20/2022 WMQM AM 1600                                  23 Stephen Hill Road Atoka, TN 38004                   Seuppliers or Vendors    2,500.00
05/12/2022 American Media/Reality Zone                   PO Box 4646 Thousand Oaks, CA 91359                    Seuppliers or Vendors      801.00

06/22/2022                                                                                                      Seuppliers or Vendors      25.00

06/22/2022                                                                                                      Seuppliers or Vendors      25.00

06/14/2022                                                                                                      Seuppliers or Vendors      15.00

06/14/2022                                                                                                      Seuppliers or Vendors      15.00

06/10/2022                                                                                                      Seuppliers or Vendors      15.00

05/27/2022                                                                                                      Seuppliers or Vendors      15.00

05/23/2022                                                                                                      Seuppliers or Vendors      15.00

05/23/2022                                                                                                      Seuppliers or Vendors      25.00

05/06/2022                                                                                                      Seuppliers or Vendors      15.00

05/03/2022                                                                                                      Seuppliers or Vendors      25.00
                                                         9 Riverdale Road Ranmoor Sheffield South Yorkshire,
06/22/2022 Watson, Paul                                  United Kingdom S10 3FA                                 Seuppliers or Vendors   25,000.00
                                                         10 Riverdale Road Ranmoor Sheffield South Yorkshire,
05/23/2022 Watson, Paul                                  United Kingdom S10 3FA                                 Seuppliers or Vendors   25,000.00
                                                         11 Riverdale Road Ranmoor Sheffield South Yorkshire,
05/03/2022 Watson, Paul                                  United Kingdom S10 3FA                                 Seuppliers or Vendors   25,000.00
07/22/2022 Verizon Wireless                              PO Box 660108 Dallas, TX 75266                         Seuppliers or Vendors      531.80
06/03/2022 Verizon Wireless                              PO Box 660108 Dallas, TX 75267                         Seuppliers or Vendors      513.13
05/20/2022 Verizon Wireless                              PO Box 660108 Dallas, TX 75268                         Seuppliers or Vendors      524.18
06/22/2022 Miller, Sean                                  PO Box 763 Wyalusing, PA 18853                         Seuppliers or Vendors    3,200.00
05/20/2022 Miller, Sean                                  PO Box 763 Wyalusing, PA 18854                         Seuppliers or Vendors    3,200.00
07/01/2022 Spectrum Enterprise aka Time Warner Cable     PO Box 60074 City of Industry, CA 91716                Seuppliers or Vendors    2,106.03
06/03/2022 Spectrum Enterprise aka Time Warner Cable     PO Box 60074 City of Industry, CA 91717                Seuppliers or Vendors    2,072.17
05/20/2022 Spectrum Enterprise aka Time Warner Cable     PO Box 60074 City of Industry, CA 91718                Seuppliers or Vendors    4,176.54
06/24/2022 Ready Alliance Group, Inc                     PO Box 1709 Sandpoint, ID 83864                        Seuppliers or Vendors   10,125.81
               Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 67 of 77


                                         Part 2.3. Payments to Creditors wihtin 90 days
   Date                           Name                                    Address                Reasons for Payment    Amount
06/21/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83865            Seuppliers or Vendors   23,036.81
06/14/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83866            Seuppliers or Vendors    9,667.30
06/14/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83867            Seuppliers or Vendors   45,000.00
06/14/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83868            Seuppliers or Vendors   23,349.52
05/28/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83869            Seuppliers or Vendors   47,349.37
05/27/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83870            Seuppliers or Vendors   49,292.22
05/25/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83871            Seuppliers or Vendors   57,369.70
05/23/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83872            Seuppliers or Vendors   85,823.99
05/20/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83873            Seuppliers or Vendors    1,962.00
05/20/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83874            Seuppliers or Vendors   29,216.11
05/16/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83875            Seuppliers or Vendors   42,347.58
05/13/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83876            Seuppliers or Vendors   35,160.81
05/12/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83877            Seuppliers or Vendors   27,760.85
05/11/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83878            Seuppliers or Vendors   32,455.68
05/06/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83879            Seuppliers or Vendors   54,634.23
05/03/2022 Ready Alliance Group, Inc                 PO Box 1709 Sandpoint, ID 83880            Seuppliers or Vendors   29,043.77
                                                     6700 Woodlands Parkway Suite 230 309 The
07/01/2022 One Party America, LLC                    Woodlands, TX 77382                        Seuppliers or Vendors   50,000.00
                                                     6700 Woodlands Parkway Suite 230 309 The
06/24/2022 One Party America, LLC                    Woodlands, TX 77382                        Seuppliers or Vendors   70,000.00
                                                                                                    Part 2.4 (Payments to Insiders)




                        EXHIBIT
                                                                                                          Payments to PQPR




      SOFA - PART 2.4
                                                                                                              July 29, 2021 - July 29, 2022

              Date                  Transaction Type        Num    Name                          Memo/Description                                  Account                                     Split                    Amount
                                                                                                                                             27000 Note Due to
                                                                          To record principal payment on Note 2 between July 1 and July 26   PQPR:2021/11/10
7/26/2022                         Journal Entry        140                2022                                                               $25,300,000 Note     -Split-                                                  -45,722.54
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
6/30/2022                         Journal Entry        40                 To record Jun 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -152,664.03
6/28/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 8555 4572368                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -300,000.00
6/13/2022                         Transfer                                INTERNET TRANSFER FROM CHK 8514 TO CHK 8555 4862320                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -150,000.00
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
5/31/2022                         Journal Entry        39                 To record May 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -147,207.82
5/31/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 4179825                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -250,000.00
5/24/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank       -75,000.00
5/24/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 4006193                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -200,000.00
5/23/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 3766594                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -200,000.00
4/30/2022                         Journal Entry                                                                                              Interest Payable                                                               -2,622.17
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
4/30/2022                         Journal Entry        38                 To record Apr 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -154,835.39
4/29/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -50,000.00
4/28/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -50,000.00
4/26/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank     -100,000.00
4/18/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -50,000.00
4/14/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8563 TO CHK 1550 7502977                Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -75,000.00
4/1/2022                          Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 3118799                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -175,000.00
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
3/31/2022                         Journal Entry        37                 To record Mar 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -171,342.36
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
2/28/2022                         Journal Entry        36                 To record Feb 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -126,689.16
2/18/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank     -160,000.00
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
1/31/2022                         Journal Entry        35                 To record Jan 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -135,256.08
                                                                                                                                             29000 Note Payable
12/31/2021                        Journal Entry        40                 To record Dec 2021 Principal payment on Note 2                     PQPR                 -Split-                                                 -170,676.17
                                                                                                                                             29000 Note Payable
12/31/2021                        Journal Entry        42                 To reverse incorrect Dec Entries                                   PQPR                 -Split-                                                   8,000.00
                                                                                                                                             29000 Note Payable
12/10/2021                        Journal Entry        Aur121021          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                                                                                                                                                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 68 of 77




                                                                                                                                             29000 Note Payable
12/9/2021                         Journal Entry        Aur120921          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                                                             29000 Note Payable
12/8/2021                         Journal Entry        Aur120821          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                                                             29000 Note Payable
12/7/2021                         Journal Entry        Aur120721          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                    Part 2.4 (Payments to Insiders)




                        EXHIBIT
                                                                                                          Payments to PQPR




      SOFA - PART 2.4
                                                                                                              July 29, 2021 - July 29, 2022

              Date                  Transaction Type        Num    Name                          Memo/Description                                  Account                                     Split                    Amount
                                                                                                                                             27000 Note Due to
                                                                          To record principal payment on Note 2 between July 1 and July 26   PQPR:2021/11/10
7/26/2022                         Journal Entry        140                2022                                                               $25,300,000 Note     -Split-                                                  -45,722.54
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
6/30/2022                         Journal Entry        40                 To record Jun 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -152,664.03
6/28/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 8555 4572368                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -300,000.00
6/13/2022                         Transfer                                INTERNET TRANSFER FROM CHK 8514 TO CHK 8555 4862320                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -150,000.00
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
5/31/2022                         Journal Entry        39                 To record May 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -147,207.82
5/31/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 4179825                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -250,000.00
5/24/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank       -75,000.00
5/24/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 4006193                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -200,000.00
5/23/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 3766594                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -200,000.00
4/30/2022                         Journal Entry                                                                                              Interest Payable                                                               -2,622.17
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
4/30/2022                         Journal Entry        38                 To record Apr 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -154,835.39
4/29/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -50,000.00
4/28/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -50,000.00
4/26/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank     -100,000.00
4/18/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -50,000.00
4/14/2022                         Expense                                 INTERNET TRANSFER FROM CHK 8563 TO CHK 1550 7502977                Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank      -75,000.00
4/1/2022                          Expense                                 INTERNET TRANSFER FROM CHK 8514 TO CHK 1550 3118799                Advances from PQPR   10000 Cash:10100 Operating Account - Security Bank      -175,000.00
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
3/31/2022                         Journal Entry        37                 To record Mar 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -171,342.36
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
2/28/2022                         Journal Entry        36                 To record Feb 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -126,689.16
2/18/2022                         Expense                                                                                                    Advances from PQPR   10000 Cash:10130 Depository Account - Security Bank     -160,000.00
                                                                                                                                             27000 Note Due to
                                                                                                                                             PQPR:2021/11/10
1/31/2022                         Journal Entry        35                 To record Jan 2022 Note 2 Principal Payment                        $25,300,000 Note     -Split-                                                 -135,256.08
                                                                                                                                             29000 Note Payable
12/31/2021                        Journal Entry        40                 To record Dec 2021 Principal payment on Note 2                     PQPR                 -Split-                                                 -170,676.17
                                                                                                                                             29000 Note Payable
12/31/2021                        Journal Entry        42                 To reverse incorrect Dec Entries                                   PQPR                 -Split-                                                   8,000.00
                                                                                                                                             29000 Note Payable
12/10/2021                        Journal Entry        Aur121021          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                                                                                                                                                        Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 69 of 77




                                                                                                                                             29000 Note Payable
12/9/2021                         Journal Entry        Aur120921          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                                                             29000 Note Payable
12/8/2021                         Journal Entry        Aur120821          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                                                             29000 Note Payable
12/7/2021                         Journal Entry        Aur120721          Note Payable PQPR                                                  PQPR                 -Split-                                                   -1,000.00
                                                                                                             29000 Note Payable
12/6/2021    Journal Entry   Aur120621              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
12/3/2021    Journal Entry   Aur120321              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
12/2/2021    Journal Entry   Aur120121              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
12/2/2021    Journal Entry   Aur120221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   39                     To record Nov 2021 Interest payment on Note 2            PQPR                 -Split-                                                -87,102.25
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   39                     To record Nov 2021 Interest payment on Note 2            PQPR                 -Split-                                                -20,650.61
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   41                     To reverse incorrect Nov Entries                         PQPR                 -Split-                                                19,000.00
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   Aur113021              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/29/2021   Journal Entry   Aur112921              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/26/2021   Journal Entry   Aur112621              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/24/2021   Journal Entry   Aur112421              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/23/2021   Journal Entry   Aur112321              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/22/2021   Journal Entry   Aur112221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/19/2021   Journal Entry   Aur111921              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/18/2021   Journal Entry   Aur111821              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/17/2021   Journal Entry   Aur111721              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/16/2021   Journal Entry   Aur111621              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/15/2021   Journal Entry   Aur111521              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/12/2021   Journal Entry   Aur111221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/10/2021   Journal Entry   Aur111021              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/9/2021    Journal Entry   Aur110921              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/8/2021    Journal Entry   Aur110821              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/5/2021    Journal Entry   Aur110521              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/4/2021    Journal Entry   Aur110421              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/3/2021    Journal Entry   Aur110321              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/2/2021    Journal Entry   Aur110221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                         PQPR
                                                                                                                                                                                                      Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 70 of 77




                                         Holdings
                                         Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
10/8/2021    Check           WIRE        LLC        PQPR/FSS 081320 Note Payment 14 - Interest & Principle   PQPR                 Depository                                              -5,825.16
                                   PQPR
                                   Holdings
                                   Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
9/28/2021   Check           WIRE   LLC        PQPR/FSS 081320 Note Payment 13 - Interest & Principle   PQPR                 Depository                                                   -13,654.89
                                                                                                       29000 Note Payable
9/20/2021   Journal Entry   33                                                                         PQPR                 -Split-                                                       -1,708.05
                                   PQPR
                                   Holdings
                                   Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
8/24/2021   Check           WIRE   LLC        PQPR/FSS 081320 Note Payment 10 - Interest & Principle   PQPR                 Depository                                                    -6,559.05
                                   PQPR
                                   Holdings
                                   Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
8/11/2021   Check           WIRE   LLC        PQPR/FSS 081320 Note Payment 9 - Interest & Principle    PQPR                 Depository                                                    -1,418.60
                                                                                                                                                                                   (3,078,934.33)
                                                                                                                                                                                                      Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 71 of 77
                                                                                                             29000 Note Payable
12/6/2021    Journal Entry   Aur120621              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
12/3/2021    Journal Entry   Aur120321              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
12/2/2021    Journal Entry   Aur120121              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
12/2/2021    Journal Entry   Aur120221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   39                     To record Nov 2021 Interest payment on Note 2            PQPR                 -Split-                                                -87,102.25
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   39                     To record Nov 2021 Interest payment on Note 2            PQPR                 -Split-                                                -20,650.61
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   41                     To reverse incorrect Nov Entries                         PQPR                 -Split-                                                19,000.00
                                                                                                             29000 Note Payable
11/30/2021   Journal Entry   Aur113021              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/29/2021   Journal Entry   Aur112921              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/26/2021   Journal Entry   Aur112621              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/24/2021   Journal Entry   Aur112421              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/23/2021   Journal Entry   Aur112321              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/22/2021   Journal Entry   Aur112221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/19/2021   Journal Entry   Aur111921              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/18/2021   Journal Entry   Aur111821              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/17/2021   Journal Entry   Aur111721              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/16/2021   Journal Entry   Aur111621              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/15/2021   Journal Entry   Aur111521              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/12/2021   Journal Entry   Aur111221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/10/2021   Journal Entry   Aur111021              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/9/2021    Journal Entry   Aur110921              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/8/2021    Journal Entry   Aur110821              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/5/2021    Journal Entry   Aur110521              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/4/2021    Journal Entry   Aur110421              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/3/2021    Journal Entry   Aur110321              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                                                                                             29000 Note Payable
11/2/2021    Journal Entry   Aur110221              Note Payable PQPR                                        PQPR                 -Split-                                                 -1,000.00
                                         PQPR
                                                                                                                                                                                                      Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 72 of 77




                                         Holdings
                                         Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
10/8/2021    Check           WIRE        LLC        PQPR/FSS 081320 Note Payment 14 - Interest & Principle   PQPR                 Depository                                              -5,825.16
                                   PQPR
                                   Holdings
                                   Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
9/28/2021   Check           WIRE   LLC        PQPR/FSS 081320 Note Payment 13 - Interest & Principle   PQPR                 Depository                                                   -13,654.89
                                                                                                       29000 Note Payable
9/20/2021   Journal Entry   33                                                                         PQPR                 -Split-                                                       -1,708.05
                                   PQPR
                                   Holdings
                                   Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
8/24/2021   Check           WIRE   LLC        PQPR/FSS 081320 Note Payment 10 - Interest & Principle   PQPR                 Depository                                                    -6,559.05
                                   PQPR
                                   Holdings
                                   Limited,                                                            29000 Note Payable   10710 SECURITY BANK OF CRAWFORD:Sec Bank of Crawford
8/11/2021   Check           WIRE   LLC        PQPR/FSS 081320 Note Payment 9 - Interest & Principle    PQPR                 Depository                                                    -1,418.60
                                                                                                                                                                                   (3,078,934.33)
                                                                                                                                                                                                      Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 73 of 77
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 74 of 77




                     EXHIBIT

                   SOFA - PART 3.7
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 75 of 77
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 76 of 77
Case 22-60043 Document 900 Filed in TXSB on 04/30/24 Page 77 of 77




                               EXHIBIT

                              Ex. SOFA-11
